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| SEVENTH CIRCUIT TRANSCRIPT INFORMATION SHEET

PART | — Must be completed by party or party's attorney pursuant to Rule 10(b) of the Federal Rules of Appellate Procedure.
The appellant must file this form with the court reporter within 14 days of filing the notice of appeal, whether transcript is being
ordered or not. (FRAP 10(b)(1)) Satisfactory arrangem ents with the court reporter for payment of the costs of the transcripts m
ust also be made at thattime. (FRAP 10(b)(4)) (Note: Appellees as well as appellants are expected to use this form when
ordering transcripts.)

Short Title District D.C. Docket No.
United States v. Steven Anderegg W.D. Wisc. 24-cr-50
District Judge Court Reporter
James D. Peterson Jennifer Dobbratz

Vam ordering transcript. Sign below and return original and one copy to court reporter.

[_] | am not ordering transcript because: Distribute remaining copies to the Clerk of the District Court
and opposing party, retaining one copy for yourself.

[] The transcript has been prepared.

Indicate proceedings for which transcript is required. Dates must be provided: Date(s)

[7] Pretrial proceedings. Specify: motion hearing; status conferences 12141124; U2AI2S; TRS

[] Voir Dire

Trial or Hearing. Specify:

Opening statement

Instruction conference

Closing statements

Court instructions

Post-trial proceedings. Specify:

Sentencing

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Other proceedings. Specify:

Method of Payment: [_] Cash [_] Check or Money Order [| c..A. Voucher
Status of Payment: [J Full Payment [| Partial Payment [| No Payment Yet
Signature: s/ Ross B. Goldman Telephone No. 202-532-4153
Address: U.S. DOJ, Criminal Div., Child Exploitation & Obscenity Section

1301 New York Ave. NW., Washinaton, DC 20530 Date: 3/5/25

PART || — Must be completed by Court Reporter pursuant to Rule 11(b) of the Federal Rules of Appellate Procedure. By signing
this Part Il, the Court Reporter certifies that satisfactory arrangements for payment have been made.

U.S.C.A. Docket No. Date Order Received Estimated Completion Date Estimated Length

3/6/25 4/4/75 td. pagrs
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NOTICE: The Judicial Conference of the United States, by its resolution of March 11, 1982, has provided that a penalty of 10
percent must apply, unless a waiver is granted by the Court of Appeals’ Clerk, when a “transcript of a case on appeal is not
delivered within 30 days of the date ordered and payment received therefor.” The penalty is 20 percent for transcript not delivered
within 60 days.

Signature of Court Reporter: &

Original to Court Reporter. Copies to: @ U_S.CA. Clerk @ Service Copy @ District Court Clerk and to @ Party / Counsel
Ordering Transcript.
